       Case 1:06-cr-00035-AW         Document 311        Filed 05/16/08      Page 1 of 4


                                                                                         Page 1 of 4


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00035-MP-AK

BRUCE DAVID ADAMS,

      Defendant.
________________________________/

                             FINAL ORDER OF FORFEITURE

       This matter is before the Court on Doc. 310, Motion for Final Order Of Forfeiture, filed by

the Government. Being fully advised in the premises, the Court finds as follows:

       WHEREAS, on July 30, 2007, this Court entered a Preliminary Order Of Forfeiture against

the following property:

       A.     REAL PROPERTY LOCATED AT 6211 NW 124th Place, Gainesville, Fl 32653-
              7999, more particularly described as Lot 4 of a REPLAT OF LOT 4 OF UNIT
              NO. 1, MCGINLEY INDUSTRIAL PARK as per plat thereof recorded in Plat
              book “P”, page 88 of the public records of Alachua County, Florida;

       B.     REAL PROPERTY LOCATED AT 7717 SW 122nd Street, Gainesville, FL
              32608, more particularly described in Exhibit A. (The U.S. Marshals Service
              has advised the U.S. Attorney’s Office that a Doublewide Mobile Home,
              identified as VIN Nos. FLHML3B121317072A and FLHML3B121317072B is
              located on the property);

       C.     $25,000.00 in U.S. Currency;

       D.     2002 Ford 150 4-Door Truck, VIN No. 1FTRW07372KC90119;

       E.     2005 Hortan Van H8.528TA Trailer, VIN #5E2B1282051020183;

       F.     2002 Honda XR70R Motorcycle - VIN #JH2DE02042K500113;

       G.     2001 Honda 250R Motorcycle - VIN #JH2ME03341M308993;

       H.     2003 Kawasaki KX65 Motorcycle - VIN #JKBKXEAC53A031629;
         Case 1:06-cr-00035-AW        Document 311        Filed 05/16/08      Page 2 of 4


                                                                                          Page 2 of 4


        I.       2005 Kawasaki KX85 Motorcycle - VIN #JKBKXFAC05A027318;

        J.       2006 Suzuki GSX1300 Motorcycle - VIN #JS1GW71A962103681;

        K.       2002 Suzuki RM Motorcycle - VIN #JS1RF16C022100288;

        L.       2005 EZ-GO Textron Golf Cart - VIN #1505320;

        M.       Smith & Wesson .44 cal Revolver - SN #73181;

        N.       Taurus .44 cal Revolver - SN #756160;

        O.       Smith & Wesson .357 Magnum Revolver - SN #BEW9325;

        P.       Taurus 9mm Pistol - SN #TTF32606;

        Q.       Glock .45 cal Pistol - SN #DUK318US;

        R.       Beretta .380 cal Pistol - SN #A41162Y;

        S.       Kel-Tec .380 cal Pistol - SN # Unknown;

        T.       North American Arms .22 cal Pistol - SN #L032278;

        U.       AK47 Assault Rifle - SN #SBK3096-85;

        V.       AK47 Magazines;

        W.       Remington 870 12 gauge Shotgun - SN #AB166074M;

        X.       Remington .22 cal Rifle - SN # Unknown;

        Y.       Bushmaster .223 cal Rifle - SN # Unknown;

        Z.       $150,000.00 U.S. Currency.

        WHEREAS, on May 15, 2007, this Court entered a Preliminary Order Of Forfeiture for

the property described above; and

        WHEREAS, on August 14, 21 and 28, 2007, the United States of America caused to be

published in the Gainesville Sun, a newspaper of general circulation, notice of this forfeiture and



Case No: 1:06-cr-00035-MP-AK
         Case 1:06-cr-00035-AW           Document 311         Filed 05/16/08       Page 3 of 4


                                                                                                Page 3 of 4


the intent of the United States of America to dispose of the property, in accordance with the law, and

further notifying all third parties of their right to file a petition within thirty (30) days of the final

publication setting forth their interest in said property; and

        WHEREAS, on November 14, 2007, Pramco CV8, LLC, filed a petition based on two

mortgages it owns encumbering 6211 NW 124th Place, Gainesville, Florida. The United States of

America recognizes these mortgages; and

        WHEREAS, on December 17, 2007, Donna Jean Adams, wife of defendant Bruce D. Adams,

entered a Petition to Enter Plea of Guilty/Nolo Contendere with the State of Florida, in which she

waived “all rights and/or claims” to the property described above; and

        WHEREAS, on February 27, 2008, Wachovia Bank, N.A., filed a claim based on a mortgage

it owns encumbering 7717 SW 122nd Street, Gainesville, Florida. The United States of America

recognizes this mortgage; and

        WHEREAS, on April 1, 2008, notice of this forfeiture action was sent by certified mail to

Betty G. Hilgendorf, a potentially interested party in at least one of the assets listed above; and

        WHEREAS, no other persons or entities having an interest in the above-referenced

property have filed petitions; it is hereby

        ORDERED, ADJUDGED and DECREED that the right, title and interest to the above-

referenced property, is hereby condemned, forfeited and vested in the United States of America,

subject only to the mortgages of Pramco CV8, LLC, and Wachovia Bank, N.A., and shall be

disposed of in accordance with the law.




Case No: 1:06-cr-00035-MP-AK
         Case 1:06-cr-00035-AW     Document 311       Filed 05/16/08    Page 4 of 4


                                                                                  Page 4 of 4



        DONE AND ORDERED this         16th day of May, 2008


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge




Case No: 1:06-cr-00035-MP-AK
